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                            United States District Court
                                      for the
                            Southern District of Florida

   Ron Von Paulus, Plaintiff              )
                                          )
   v.                                     )
                                            Civil Action No. 20-23819-Civ-Scola
                                          )
   Real Green Systems, LLC,               )
   Defendant                              )
                        First Amended Scheduling Order
         This matter is before the Court upon the parties’ joint motion to modify
  scheduling order. Having reviewed the motion, the Court grants the parties’
  joint motion. (ECF No. 25.) The remaining pre-trial deadlines and trial date are
  re-set, as detailed below.
      This action is re-set for trial during the two-week trial period beginning on
  August 2, 2021. Calendar call will be held at 9:00 a.m. on the preceding
  Tuesday, July 27, 2021, at the Wilkie D. Ferguson, Jr. United States
  Courthouse, 400 N. Miami Avenue, Courtroom 12-3, Miami, Florida. A pretrial
  conference will be held immediately following calendar call only if requested by
  the parties in advance.
      1. The parties must comply with the following schedule:
        Passed      Deadline to join additional parties or to amend pleadings.

                    Deadline to file joint interim status report.

     February 11,   Deadline to file Proposed Order Scheduling Mediation, setting
        2021        forth the name of the mediator, and the date, time, and
                    location of the mediation, consistent with the Order of Referral
                    to Mediation (See ECF No. 13).

                    Deadline to complete all fact discovery.
                    Deadline to submit joint notice indicating whether the parties
                    consent to jurisdiction before the designated magistrate judge
                    for purposes of final disposition.
                    Deadline to exchange expert witness summaries/reports
   March 19, 2021
                    pursuant to Federal Rule of Civil Procedure 26(a)(2). Rebuttal
                    disclosures are permitted, and must conform to the deadline
                    set forth in Federal Rule of Civil Procedure 26(a)(2)(D)(ii).
                    (When a treating physician testifies regarding opinions formed and
                    based upon observations made during the course of treatment, the
                    treating physician need not produce a Rule 26(a)(2)(B) report. By
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                     contrast, treating physicians offering opinions beyond those arising
                     from treatment are experts from whom full Rule 26(a)(2)(B) reports
                     are required. See, Muzaffarr v. Ross Dress for Less, Inc., No. 12-
                     61996-CIV, 2013 WL 3850848, at *1 (S.D. Fla. July 26, 2013).)

    April 1, 2021    Deadline for the filing of all dispositive motions.

                     Deadline to complete mediation, consistent with the Order of
    April 15, 2021
                     Referral to Mediation (See ECF No. 13).

    May 5, 2021      Deadline to complete all expert discovery.

                     Deadline for the filing of pretrial motions, including motions in
    June 1, 2021
                     limine and Daubert motions.

                     Deadline to file joint pretrial stipulation under Local Rule
    July 5, 2021     16.1(e) and pretrial disclosures as required by Federal Rule of
                     Civil Procedure 26(a)(3).

                     Deadline to file proposed jury instructions (if the matter is set
                     for a jury trial) or proposed findings of fact and conclusions of
    July 19, 2021
                     law (if the matter is set for a bench trial) consistent with Local
                     Rule 16.1(k).

     2. Interim Joint Status Report. The parties are required to submit an
  interim joint status report addressing the following issues:
       a) Have all defendants been served? If not, state the reasons.
      b) Have all defendants responded to the complaint? If not, state the
         reasons.
      c) If this is a class action, has a motion for class certification been
         filed? If so, what is its status?
      d) Have the parties agreed on and selected a mediator? Have the
         parties agreed upon a place, date, and time for mediation?
      e) Have the parties engaged in informal settlement negotiations? If
         not, explain the reasons for the failure to do so. If yes, state the
         status of such negotiations (e.g., ongoing, impasse, etc.) and the
         relative prospects for resolution through informal means.
      f) Describe the status of discovery conducted to date, and identify
         whether the parties reasonably believe that they will be able to
         complete discovery by the Court’s deadline. If not, explain the
         reasons.
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      g) Identify any other issues that the Court should be aware of that
         may affect the resolution of this matter or the schedule as
         currently set.
      3. References to documents in summary-judgment motions. When a party
  files a motion for summary judgment, the party must include the ECF number
  of any exhibits or other documents referred to in the motion or the
  accompanying statement of material facts (required by Local Rule 56.1). This
  means that if a document is not already on the record, a party will need to
  submit a Notice of Filing before he or she files the summary-judgment motion
  and the statement of material facts.
      4. Limit on motions in limine & Daubert motions. Each party is limited to
  filing one motion in limine and one Daubert motion. If a party cannot address
  his or her evidentiary issues or expert challenges in a 20-page motion, leave to
  exceed the page limitation will be granted upon a showing of good cause. The
  parties are reminded that motions in limine and Daubert motions must contain
  the Local Rule 7.1(a)(3) pre-filing conference and certification.
     5. Jury Instructions. The parties must submit their proposed jury
  instructions jointly, though they need not agree on each proposed instruction.
  Where both parties agree on a proposed instruction, that instruction must be
  set out in regular typeface. Instructions proposed only by a plaintiff must be
  underlined. Instructions proposed only by a defendant must be bold-faced.
  Every instruction must be supported by a citation of authority. The parties
  should use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil
  Cases, including the directions to counsel, or the applicable state pattern jury
  instructions. The parties must jointly file their proposed jury instructions via
  CM/ECF, and must also submit their proposed jury instructions to the Court
  via e-mail at scola@flsd.uscourts.gov in Word format (.doc).
     6. Trial Exhibits. All trial exhibits must be pre-marked. Plaintiff’s exhibits
  must be marked numerically with the letter “P” as a prefix. Defendant’s
  exhibits must be marked alphabetically with the letter “D” as a prefix. A list
  setting out all exhibits must be submitted at the time of trial. This list must
  indicate the pre-marked identification label (e.g., P-1, or D-A) and must also
  include a brief description of the exhibit.
     7. Deposition Designations. Any party intending to use deposition
  testimony as substantive evidence must designate by line and page reference
  those portions in writing. The designations must be served on opposing counsel
  and filed with the Court 14 days before the deadline to file the joint pretrial
  stipulation. The adverse party must serve and file any objections and any
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  cross-designations within seven days. The initial party then has seven days to
  serve and file objections to the cross-designations.
     8. Voir Dire Questions. The Court will require each prospective juror to
  complete a brief written questionnaire prior to the commencement of
  questioning in the courtroom. Any party may submit up to five proposed, case-
  specific questions to be included in the questionnaire. The proposed questions
  must be filed with the Court at the time of the filing of the joint pretrial
  stipulation, and must also be submitted to the Court via e-mail at
  scola@flsd.uscourts.gov in Word format (.doc).
     9. Notification of juror misconduct. Every party has an affirmative duty to
  notify the Court immediately of any possible juror misconduct or any
  information that might possibly reflect on a juror’s ability to serve. Immediate
  notification is required to allow the Court the opportunity to address the issue,
  including questioning the juror and, if necessary, discharging the juror and
  seating an alternate juror. In any trial lasting more than five days, the Court
  imposes an affirmative duty on both sides to conduct all reasonable
  investigations of juror misconduct, including statements provided during voir
  dire, and to advise the Court immediately of any discovered misconduct. Any
  party who fails to conduct a reasonable investigation in this situation and later
  discovers an incidence of juror misconduct has waived his, her, or its right to
  rely on that misconduct in a motion before this Court.
     10.       Settlement Conference Before Magistrate Judge. The parties may,
  at any time, file a motion requesting a settlement conference before United
  States Magistrate Judge Edwin G. Torres. The Court encourages the parties to
  consider a confidential settlement conference with Judge Torres, especially if
  the parties believe there is a meaningful chance of reaching an early, amicable
  resolution of their dispute.
     11.       Settlement Notification. If this matter is settled, counsel are
  directed to inform the Court promptly via telephone (305-523-5140) and/or e-
  mail (scola@flsd.uscourts.gov).
        Done and ordered at Miami, Florida on January 4, 2021.

                                             ________________________________
                                             Robert N. Scola, Jr.
                                             United States District Judge
